                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

C.R. BARD, INC and BARD                     )
PERIPHERAL VASCULAR, INC.,                  )
                                            )
                    Plaintiffs,             )
                                            )
             v.                             ) C.A. No. 21-349 (CFC)
                                            )
ANGIODYNAMICS, INC.,                        )
                                            )
                    Defendant.              )

   PLAINTIFFS’ MOTION TO DISMISS AND STRIKE DEFENDANT’S
 INEQUITABLE CONDUCT COUNTERCLAIM AND DEFENSE AND TO
    SEVER AND DISMISS DEFENDANT’S PATENT INFRINGEMENT
                      COUNTERCLAIMS

      Pursuant to Federal Rules of Civil Procedure 12(b)(6) and 12(f), Plaintiffs

C.R. Bard, Inc. and Bard Peripheral Vascular, Inc. (collectively, “Bard”), move to

dismiss Defendant AngioDynamics, Inc.’s (“Angio”) inequitable conduct

counterclaim (Eighth Counterclaim) and defense (Sixth Defense) (D.I. 49).

Additionally, Bard moves pursuant to the Court’s inherent power and Federal Rule

of Civil Procedure 21 to sever Angio’s counterclaims asserting patent infringement

against Bard (First-Third Counterclaims) (D.I. 49) into a separate action and to

dismiss those counterclaims pursuant to Federal Rule of Civil Procedure 12(b)(3)

for improper venue or to transfer them to a district where venue is proper. The

grounds for this Motion are set forth in Bard’s Opening Brief in Support of Plaintiffs’

Motion to Dismiss and Strike Defendant’s Inequitable Conduct Counterclaim and
Defense and to Sever and Dismiss Defendant’s Infringement Counterclaims, filed

concurrently herewith.

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July 7, 2023




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          CERTIFICATION PURSUANT TO LOCAL RULE 7.1.1

      Counsel for Bard certifies that counsel for the parties, including lead and

Delaware counsel, discussed the subject of the motion to sever and were unable to

reach agreement.



                                           /s/ Jack B. Blumenfeld

                                           Jack B. Blumenfeld (#1014)
                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

C.R. BARD, INC and BARD                    )
PERIPHERAL VASCULAR, INC.,                 )
                                           )
                   Plaintiffs,             )
                                           )
             v.                            ) C.A. No. 21-349 (CFC)
                                           )
ANGIODYNAMICS, INC.,                       )
                                           )
                   Defendant.              )

                                 [PROPOSED] ORDER

      The Court having considered Plaintiffs’ Motion to Dismiss and Strike

Defendant’s Inequitable Conduct Counterclaim and Defense and to Sever and

Dismiss Defendant’s Infringement Counterclaims, and the papers submitted in

connection therewith,

      HEREBY ORDERS, this _________ day of ______________, 2023 that the

Motion is GRANTED.          Defendant’s Eighth Counterclaim is Dismissed and

Defendant’s Sixth Defense is stricken.

      IT IS HEREBY FURTHER ORDERED that Defendants First through Third

Counterclaims asserting patent infringement are SEVERED from this action into a

separate action and will be DISMISSED pursuant to Fed. R. Civ. P. 12(b)(3) for

improper venue or transferred to a district where venue is proper.



                                  ________________________________________
                                  Chief, United States District Judge
                           CERTIFICATE OF SERVICE

       I hereby certify that on July 7, 2023, I caused the foregoing to be electronically

filed with the Clerk of the Court using CM/ECF, which will send notification of such

filing to all registered participants.

       I further certify that I caused copies of the foregoing document to be served

on July 7, 2023, upon the following in the manner indicated:

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                                         /s/ Jack B. Blumenfeld
                                         __________________________
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